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   IT IS ORDERED as set forth below:



   Date: July 28, 2021
                                                      ________________________________
                                                                  Paul Baisier
                                                          U.S. Bankruptcy Court Judge

  _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                               :               CHAPTER 7
                                                     :
TRACY DENNIS,                                        :               CASE NO. 20-63562-PMB
                                                     :
         Debtor.                                     :
                                                     :

   ORDER APPROVING SETTLEMENT AGREEMENT UNDER RULE 9019 OF THE
             FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On July 1, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Tracy Dennis (“Debtor”), filed a Motion for Order

Authorizing Settlement between Trustee and United Community Bank under Rule 9019 of the

Federal Rules of Bankruptcy Procedure [Doc. No. 28] (the “Motion”) and related papers with

the Court, seeking an order, among other things, approving a settlement agreement (the

“Settlement Agreement”) between Trustee and United Community Bank (“United” and with

Trustee, the “Parties”) related to certain improved real property with a common address of 6885

Estepona Street, Atlanta, Fulton County Georgia 30349 (the “Property”) and the alleged

security interest of United in the Property, purportedly held as a result of a certain security deed


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(the “UCB Deed”). More specifically, under the terms of the Settlement Agreement, inter alia,1

within 30 days of this order 2 becoming final, United, through its title insurance carrier, First

American Title Insurance Company, on behalf of United, shall pay to Trustee $85,000.00 (the

“Settlement Funds”) in good funds. In addition, effective upon this order becoming a final

order, the UCB Deed shall be deemed properly perfected. Moreover, within ten (10) business

days of the later of: (a) this order becoming a final order, or (b) Trustee’s receiving the

Settlement Funds, the Parties shall file a stipulation dismissing with prejudice the Adversary

Proceeding (Adv. Pro. No. 20-6079-PMB). Finally, Trustee, on the one hand, and United, on the

other hand, grant broad releases to one another.          The complete terms of the Settlement

Agreement are set forth in Exhibit “A” to the Motion.

         On July 1, 2021, Trustee filed a notice of hearing [Doc. No. 29] (the “Notice”) regarding

the Motion setting it for hearing on July 26, 2021 (the “Hearing”). Counsel for Trustee certifies

that he served the Notice on all requisite parties in interest. [Doc. No. 30].

         Counsel for Trustee appeared at the calendar call for the Hearing on July 26, 2021. No

creditors or parties in interest appeared to oppose the relief requested in the Motion.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion; and, the Court having found that good

cause exists to grant the relief requested in the Motion, it is hereby




1      The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2      Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Motion.


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         ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein. It is further

         ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement Agreement. It is further

         ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                      [END OF DOCUMENT]


Order prepared and presented by:

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Attorneys for Trustee

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Identification of entities to be served:

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